UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

x
ROGELIO ROSA, §-
§
Plaintiff, § Civil Action No.: 11 CIV 2123
§
-against- §
§ VERIFIED ANSWER
§
ROSEN PARAMOUNT GLASS CO., INC., and §
STANLEY ROSEN, §
§
Defendants. §
x
COUNSELORS:

The Defendants, ROSEN PARAMOUNT GLASS CO., INC. and STANLEY ROSEN,
by and through their attorney, LAW OFFICE OF GLENN J. INGOGLIA, do hereby answer
the Plaintiff, ROGELIO ROSA’s Complaint, upon information and belief, as follows:

1. Denies those allegations contained in the paragraphs of the Complaint therein
designated “1,” “4,” “6,” “7,” “8,” “9,” “10,” “11,” 427 613, “14,” “15,” “16,” 417,” “18,”
19,” “20,” “21,” “22,” “24,” “25,” “26,” “27,” “28,” “29,” “30,” “31,” “33,” “34,” “35,” “36,”
437, 638.” 39." “40,” “41,” “42,” “43,” “44,” “45,” “46,” and “47.”

2. Denies in the form alleged, those allegations contained in the paragraphs of the
Complaint therein designated “32.”

3. Denies those allegations contained in the paragraphs of the Complaint therein
designated “2”, except Defendants admit that “This Court has jurisdiction over this matter
pursuant 28 U.S.C. 1331, 1337, 1343.”

4. Denies those allegations contained in the paragraphs of the Complaint therein

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designated “3”, except Defendants admit that “venue is proper pursuant to 28 U.S.C. 1391.”
5. Admit those allegations contained in the paragraphs of the Complaint therein

designated “5,” “23,” and “48.”

FIRST AFFIRMATIVE DEFENSE

The Complaint fails to state a claim against Defendants upon which relief can be
granted, in that, Plaintiff fails to allege in his Complaint with specificity which provisions of
the Fair Labor Standards Act and New York Labor Law, that the Defendants allegedly

violated.

SECOND AFFIRMATIVE DEFENSE

The claims are barred to the extent that they were not filed within the applicable

statutes of limitation and/or administrative filing periods.

THIRD AFFIRMATIVE DEFENSE

The claims are barred, in whole or in part, by the principles of waiver and/or estoppel.

FOURTH AFFIRMATIVE DEFENSE
The claims are barred to the extent that Plaintiffs failed to timely and properly exhaust
all necessary administrative, statutory and/or jurisdictional prerequisites for the

commencement of this action.
FIFTH AFFIRMATIVE DEFENSE

The Defendants did not engage in commerce or in the preduction of goods for
commerce, or employ Plaintiff in an enterprise engaged in commerce or in the production of

goods for commerce, and therefore, not liable to the Plaintiff for any damages alleged pursuant

to 29 U.S.C. 216.

SIXTH AFFIRMATIVE DEFENSE

A defense is founded upon documentary evidence.

SEVENTH AFFIRMATIVE DEFENSE

The Plaintiff's claims against STANLEY ROSEN or ROSEN PARAMOUNT GLASS
CO., INC., should be dismissed immediately in order to avoid the possibility of duplicative

awards and a windfall to the Plaintiff.

EIGHTH AFFIRMATIVE DEFENSE

The court should not proceed in the adsence of a person who should be a party.

NINTH AFFIRMATIVE DEFENSE

Any damages allegedly sustained by the Plaintiff, were due in whole or in part, to the

conduct, actions or inactions of those persons who are not a party to this lawsuit.
TENTH AFFIRMATIVE DEFENSE

The Plaintiff was not an employee of the Defendants and therefore cannot recover

damages.

ELEVENTH AFFIRMATIVE DEFENSE

The Defendants paid the Plaintiff for all regular pay and overtime hours he allegedly

worked.

TWELFTH AFFIRMATIVE DEFENSE

The Defendant, STANLEY ROSEN, is an officer of ROSEN PARAMOUNT GLASS
CO., INC., and therefore, Plaintiff may not pierce the corporate veil and hold Defendant,
STANLEY ROSEN, liable for any damages allegedly caused by Defendant, ROSEN

PARAMOUNT GLASS, CO., INC.
PRAYER
Defendants ask the Court to enter judgment that Plaintiff take nothing, dismiss
Plaintiff’s suit with prejudice, assess costs against Plaintiff, and award Defendants all other
relief to which they are entitled.
Dated: Island Park, New York

June 10, 2011

Yours, etc.,

LAW CE N GOGLIA

By: - ee
GLENN J. INGOGLIA, ESQ. (GI 1655)
Attorney for Defendants
ROSEN PARAMOUNT GLASS CO., INC. and
STANLEY ROSEN
104 Long Beach Road

Island Park, New York 11558
(516) 432-0500

TO:

Mark L. Lubelsky and Associates
Attorney for Plaintiff

ROGELIO ROSA

123 W. 18" Street, Eighth Floor
New York, NY 10011

(212) 242-7480
VERIFICATION
STATE OF NEW YORK}

SS.
COUNTY OF NEW YORK}

STANLEY ROSEN, being duly sworn, deposes and says:

Tam a party to this action and am over the age of eighteen years old. I have read the

foregoing Answer and know the contents thereof; and the same is true to my knowledge,

except as to the matters therein stated to be alleged upon information and belief, and as to

those matters I believe it to be true.

STANLEY ROSEN "

Sworn to and Subscribed before me this
JH Day of June, 2011

Auf,

Notary Public

NEL SCHNEIDER
NOTARY PUBLIC, STATE OF NEW YORK
Registration No. @4SC6065135
Qualified in Nassau County
Commussian Expires October 9, 2013

VERIFICATION

STATE OF NEW YORK  )
) SS.:
COUNTY OF NEW YORK)
[x] Corporation Verification
STANLEY ROSEN, being duly sworn, deposes and says:
Lam the President of ROSEN PARAMOUNT GLASS, CO., INC., defendant in this action. I
have read the within answer and know its contents; it is true to the best of my knowledge,
except as to the matters stated to be alleged upon information and belief, and as to those
matter I believe them to be true. The grounds of my belief as to all matters not stated upon my
knowledge are documents underlying the transactions that are the subject matter of this
action. I make this verification because defendant ROSEN PARAMOUNT GLASS CO., INC.,

is a corporation. As stated above, [am an officer of ROSEN PARAMOUNT GLASS CoO.,

INC.

STANLEY ROSEN ;
President

ROSEN PARAMOUNT GLASS CO.,
INC.

Sworn to and Subscribed before me this
14 day of June, 2010

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Notary Public

NEIL SCHNEIDER
NOTARY PUBLIC, STATE OF NEW YORK
Registration No. 0186065135
Quafifiud in Nassau County
Commission Expires October 9, 2013 ~7~

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

ROGELIO ROSA,
Plaintiff, Civil Action No.: 11 CIV 2123

-against-
AFFIRMATION OF SERVICE

ROSEN PARAMOUNT GLASS CO,, INC., and
STANLEY ROSEN,

Defendants.

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I GLENN J. INGOGLIA, ESQ., declare under the penalty of perjury that I have
served a copy of the attached VERIFIED ANSWER and RULE 7.1 STATEMENT upon Mark
L. Lubelsky and Associates, who are the attorneys in charge for Plaintiff, ROGELIO ROSA,
and whose address is 123 West 18" Street, Eighth Floor, New York, New York 10011,
telephone number (212) 242-7480, by Certified U.S. Mail, return receipt requested, on June 15,
2011.

Dated: Island Park, New York
June 15, 2011

Yours, etc.,

By:

GLENN J. INGOGLIA, ESQ. (GI 1655)
Attorney for Defendants

ROSEN PARAMOUNT GLASS CO., INC. and
STANLEY ROSEN

104 Long Beach Road

Island Park, New York 11558

(516) 432-0500

~On
